




NO. 07-08-0047-CR



IN THE COURT OF APPEALS



FOR THE SEVENTH DISTRICT OF TEXAS



AT AMARILLO



PANEL C



MARCH 13, 2008

______________________________



PASCUAL ARELLANO DELGADO,



Appellant



v.



THE STATE OF TEXAS, 



Appellee



_________________________________



FROM THE 222nd DISTRICT COURT OF DEAF SMITH COUNTY;



NO. CR-07E-087; HON. ROLAND SAUL, PRESIDING

_______________________________



ON ABATEMENT AND REMAND

_______________________________



Before QUINN, C.J., and HANCOCK and PIRTLE, JJ.

Appellant appeals from his conviction for possession of a controlled substance. &nbsp;The clerk’s record is due to be filed on March 12, 2008. &nbsp;The reporter’s record was due on February 11, 2008, but an extension motion was filed, granting the reporter until March 12, 2008, to file the record. &nbsp;The reporter has filed a second extension request to file a record, stating that appellant has not paid or made arrangements to pay for it. &nbsp;A letter is attached to the extension request, addressed to the trial judge from appellant’s counsel, stating that he has prepared and mailed an affidavit of indigency, but as of March 10, 2008, has not received a response or the signed affidavit from appellant.

Accordingly, we abate this appeal and remand the cause to the 222nd District Court of Deaf Smith County (trial court) for further proceedings. &nbsp;Upon remand, the trial court shall immediately cause notice of a hearing to be given and, thereafter, conduct a hearing to determine the following:

1. &nbsp;whether appellant desires to prosecute the appeal; 

 &nbsp;&nbsp;&nbsp;	2. &nbsp;whether appellant is indigent; and, 

3. &nbsp;whether the appellant is entitled to a free appellate record due to his indigency. 



The trial court shall cause the hearing to be transcribed. &nbsp;So too shall it 1) execute findings of fact and conclusions of law addressing the foregoing issues, 2) cause to be developed a supplemental clerk’s record containing its findings of fact and conclusions of law and all orders it may issue as a result of its hearing in this matter, and 3) cause to be developed a reporter’s record transcribing the evidence and arguments presented at the aforementioned hearing, if any. &nbsp;Additionally, the district court shall then file the supplemental clerk’s and reporter’s records transcribing the hearing with the clerk of this court on or before April 14, 2008. &nbsp;Should further time be needed by the trial court to perform these tasks, then same must be requested before April 14, 2008.

It is so ordered.

Per Curiam

Do not publish.


